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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK

WE THE PATRIOTS USA, INC.,              :
DIANE BONO,                             :
MICHELLE MELENDEZ,                      :      Dkt. No.:1:21-cv-4954
MICHELLE SYNAKOWSKI,                    :
     Plaintiffs,                        :
v.                                      :
                                        :
KATHLEEN HOCHUL - GOVERNOR              :
OF NEW YORK; HOWARD                     :
ZUCKER, M.D, - COMMISSIONER,            :
NEW YORK STATE DEPARTMENT               :
OF HEALTH                               :
     Defendants.                        :      SEPTEMBER 13, 2021

     NOTICE OF EMERGENCY MOTION FOR INJUNCTION PENDING APPEAL

      Pursuant to Federal Rule of Civil Procedure 62(d), the Plaintiffs respectfully give

notice of their emergency motion for an injunction pending appeal:



                                                      THE PLAINTIFFS
                                                      /s/ Norman A. Pattis /s/
                                                      NORMAN A. PATTIS, ESQ.
                                                      PATTIS & SMITH, LLC
                                                      383 Orange Street
                                                      New Haven, CT 06511
                                                      Tel: (203) 393-3017
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                                                      npattis@pattisandsmith.com

                                                      /s/ Cameron L. Atkinson /s/
                                                      CAMERON L. ATKINSON, ESQ.
                                                             Pro hac vice pending
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                                                      /s/ Earl A. Voss /s/
                                                      EARL A. VOSS, ESQ.
                                                             Pro hac vice pending
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                                                      New Haven, CT 06511
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the date above a copy of the foregoing was served by

certified mail, email, and/or by fax upon Governor Hochul and Dr. Zucker or their proper

representatives designated by law.

                                                      /s/ Norman A. Pattis /s/
                                                      NORMAN A. PATTIS, ESQ.
